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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                 Plaintiff,             Case No. 2:14-CR-00136-RSL

10          v.                                            DETENTION ORDER

11 CASEY YOUNT,

12                                 Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is in his mid twenties and has criminal history going back to 2005. He has

18 prior felony convictions including drug related crimes. He has failed to appear for past court

19 hearings on several occasions in the past. He has serious substance abuse issues. He faces over

20 an advisory range of over 200 months of imprisonment according to the government and thus has

21 a strong incentive to flee.

22          It is therefore ORDERED:

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     DETENTION ORDER - 1
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 1          (1)    Defendant shall be detained pending trial and committed to the custody of the

 2 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 3 from persons awaiting or serving sentences, or being held in custody pending appeal;

 4          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 5 counsel;

 6          (3)    On order of a court of the United States or on request of an attorney for the

 7 Government, the person in charge of the correctional facility in which Defendant is confined

 8 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 9 connection with a court proceeding; and

10          (4)    The Clerk shall provide copies of this order to all counsel, the United States

11 Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 13th day of May, 2014.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
